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                        IN THE UNITED STATED DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


  ROTHSCHILD CONNECTED DEVICES §
  INNOVATIONS, LLC                    §
                                      §
        Plaintiff,                    §               Case No: 2:15-cv-01877-JRG-RSP
                                      §
  vs.                                 §               LEAD CASE
                                      §
  AMERICAN HONDA MOTOR CO., INC. §
  and HONDA OF AMERICA MFG., INC. §
                                      §
        Defendants.                   §
  ____________________________________§
                                      §
  ROTHSCHILD CONNECTED DEVICES §
  INNOVATIONS, LLC                    §
                                      §
        Plaintiff,                    §               Case No: 2:15-cv-01574-JRG-RSP
                                      §
  vs.                                 §               CONSOLIDATED CASE
                                      §
  NEXIA INTELLIGENCE, LLC             §
                                      §
        Defendant.                    §
  ____________________________________§

     MOTION TO DISMISS DEFENDANT NEXIA INTELLIGENCE, INC. WITHOUT
                              PREJUDICE

         Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, Plaintiff Rothschild

  Connected Devices Innovations, LLP (“RCDI”) files this Unopposed Motion to Dismiss

  Defendant Nexia Intelligence, Inc. Without Prejudice. Plaintiff notes that Defendants have filed

  neither an answer nor a motion for summary judgment.

         Wherefore, Plaintiff moves this Court to dismiss this action and all claims by RCDI against

  Nexia Intelligence, Inc. without prejudice, with each party to bear its own costs, attorneys’ fees
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  and other litigation expenses and request that the Court enter the proposed order of dismissal

  submitted herewith.

  Dated: June 16, 2016                         Respectfully submitted,


                                               /s/ Jay Johnson
                                               JAY JOHNSON
                                               State Bar No. 24067322
                                               BRAD KIZZIA
                                               State Bar No. 11547550
                                               ANTHONY RICCIARDELLI
                                               State Bar No. 24070493
                                               KIZZIA JOHNSON PLLC
                                               1910 Pacific Ave., Suite 13000
                                               Dallas, TX 75201
                                               (214) 451-0164
                                               Fax: (214) 451-0165
                                               jay@kjpllc.com
                                               bkizzia@kjpllc.com
                                               anthony@kjpllc.com


                                  CERTIFICATE OF SERVICE

  This is to certify that a true and correct copy of this document has been served on all counsel of
  record via electronic mail through Local Rule CV-5(a) on June 16, 2016.

                                               /s/ Jay Johnson
                                               Jay Johnson
